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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

      v.                                      Crim No. 21-cr-106 (TJK)

JEROD HUGHES

                   Defendant.

                     MOTION TO DISMISS INDICTMENT

      Defendant Jarod Hughes, by and through counsel, and pursuant to

Fed.R.Crim.P. 12(b)(3) respectfully requests that the Court dismiss Count Two of

the indictment because it fails to state an offense. In support of this motion

defendant submits the following points and authorities.

                                    Background

      On February 10, 2021, 2021, Mr. Hughes and his brother were indicted on

nine counts arising from the events at the Capitol on January 6, 2021. Of relevance

to the instant motion is Count Two which alleges that Mr. Hughes,

      attempted to, and did, corruptly obstruct, influence, and impede an
      official proceeding, that is, a proceeding before Congress, by entering
      and remaining in the United States Capitol without authority and
      committing an act of civil disorder, destroying and attempting to
      destroy Government property, entering the Senate floor, and engaging
      in disorderly and disruptive conduct and destroying federal property.

      (Obstruction of an Official Proceeding and Aiding and Abetting,
      in violation of Title 18 United States Code, Section 1512(c)(2) and 2)

Indictment, ECF 3. Section 1512(c) provides that,
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      [w]hoever corruptly—

      (1) alters, destroys, mutilates, or conceals a record, document, or other
      object, or attempts to do so, with the intent to impair the object's
      integrity or availability for use in an official proceeding; or
      (2) otherwise obstructs, influences, or impedes any official
      proceeding, or attempts to do so, shall be fined under this title or
      imprisoned not more than 20 years, or both.

18 U.S.C. § 1512(c). The term “official proceeding” includes proceedings before

federal judges, grand juries, and Congress. Id. §§ 1515(a)(1)(A) & (B). Like §

1503, which was at issue in Aguilar, § 1512(c)(2) penalizes one who “corruptly”

obstructs, influences, or impedes. Like § 1512(b)(2), which was at issue in Arthur

Andersen, § 1512(c)(2) makes an “official proceeding” the forbidden target of the

penalized activity.

                                 Legal Standards

      An indictment is sufficient and properly states an offense if it: 1) contains

the elements of the offense charged; 2) fairly informs a defendant of the charge

against which he must defend; and 3) enables him to plead an acquittal or

conviction in bar of future prosecutions for the same offense. Hamling v. United

States, 418 U.S. 87, 117 (1974). The sufficiency of an indictment implicates “at

least two core constitutional protections”: (1) the Sixth Amendment’s right of an

individual accused of a crime “to be informed of the nature and cause of the

accusation” and (2) the Fifth Amendment’s guarantee that a criminal defendant


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may only be prosecuted for offenses, the elements of which have been considered

and found to exist by a grand jury such that the defendant may not be subject to

multiple prosecutions for the same offense. United States v. Hillie, 227 F.Supp.3d

57, 69-70 (D.D.C. 2017).

      When considering the sufficiency of the charge in an indictment, a court “’is

limited to reviewing the face of the indictment and, more specifically, the language

used to charge the crimes.’” Id. at 71 (quoting United States v. Sunia, 643

F.Supp.2d 51, 60 (D.D.C. 2009) (emphasis in original)). When considering just

the face of the indictment and the language used in Count Two, that count of the

indictment is insufficient and must, therefore, be dismissed on that basis alone.

          I. Count Two Must be Dismissed Because It Fails to Allege
                     The Nexus Element of the Offense

      “In an indictment upon a statute, it is not sufficient to set forth the offence in

the words of the statute, unless those words of themselves fully, directly, and

expressly, without any uncertainty or ambiguity, set forth all the elements

necessary to constitute the offence intended to be punished; …” United States v.

Nance, 533 F.2d 699, 701 (D.C. Cir. 1976)(quoting United States v. Carll, 105

U.S. 611, 612 (1881)). Section 1512(c)’s use of the term “corruptly” renders the

statute unconstitutionally vague as applied to defendant’s alleged conduct.

      The DC Circuit has previously held that the term “corruptly” was

unconstitutionally vague where the defendant was prosecuted under a different

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obstruction statute, 18 U.S.C. § 1505, which made it a crime to attempt to

influence Congress “corruptly.”1 United States v. Poindexter, 951 F.2d 369, 379

(D.C. Cir. 1991). Looking at various dictionary definitions of the term the Court

“acknowledge[d] that, on its face, the word ‘corruptly’ is vague; that is, in the

absence of some narrowing gloss, people must ‘guess at its meaning and differ as

to its application.’” Id. at 378.

      After Poindexter was decided, the Supreme Court addressed the then

predominant general obstruction of justice statute, 18 U.S.C. § 1503, ruling that it

included a “nexus” requirement. United States v. Aguliar, 515 U.S. 593, 599-600

(1995). That requirement limits the scope of actions for which a defendant can be

criminally liable by requiring an “intent to influence judicial or grand jury

proceedings”; that is, “the [obstructive] act must have a relationship in time,

causation, or logic with the judicial proceedings” allegedly obstructed. Id. At 599.

      Applying the nexus requirement to the now predominant general obstruction

of justice statute, 18 U.S.C. §1512(c) the Fourth, Fifth and Eleventh Circuits



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  Poindexter was superseded in significant part by the False Statements
Accountability Act of 1996, Pub. L. No. 104-292, 110 Stat. 3459. As codified at 18
U.S.C. § 1515(b), the Act provides that the term “corruptly” in § 1505 “means
acting with an improper purpose, personally or by influencing another, including
making a false or misleading statement.” (Emphasis added.) That definition,
however, is limited to §1505.


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conclude that “knowledge that [one’s] actions are likely to affect” an official

proceeding is an essential element of §1512(c)(2) obstruction of justice. Here,

count Two tracks the “corruptly” language of §1512(c)(2) but fails to allege the

requisite “nexus” between the alleged conduct and a known, obstructive effect on a

proceeding before Congress. Accordingly, Count Two should be dismissed.

          II. Count Two Must be Dismissed Because it Fails to Specify the
          “Proceeding Before Congress” that Mr. Hughes Allegedly
          Obstructed

      The indictment also fails to identify the specific proceeding before Congress

that defendant is alleged to have or attempted to obstruct. Because not all

proceedings before Congress fall within the scope of 1512(c)(2) the specific

proceeding must be identified in order to inform the Court and the defendant “with

reasonable certainty, of the nature of the accusation against him” and to ensure that

it falls within the conduct proscribed by the statute. See, Russell v. United States,

369 U.S. 749, 776 (1962).

      In Russell, the Court held that an indictment charging a defendant with

refusing to answer questions before a congressional committee was insufficient

and affirmed its dismissal because the indictment failed to allege the subject of the

congressional committee’s inquiry, an essential element of the offense. Id. at 771-

72. As the court noted “[w]here guilt depends upon such a specific identification

of fact, our cases have uniformly held that an indictment must do more than simply


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repeat the language of the criminal statute.” Id. at 764. Accordingly, the

indictment’s failure to identify the subject under inquiry was “the violation of the

basic principle that the accused must be appraised by the indictment with

reasonably certainty, of the nature of the accusations against him…” Id. at 766.

      As these principles relate to 18 U.S.C. §1512(c), it has been held that an

indictment for obstruction under that section is insufficient when it fails to specify

what “official proceeding” was allegedly obstructed. United States v. McGarrity,

669 F.3d 1218, 1239-40 (11th Cir. 2021). In that case, the defendants were charged

by indictment with obstructing an official proceeding in violation of 18 U.S.C.

§1512(c). Id. at 1239. The indictment, however, did not specify what that official

proceeding was. Id. The court stated that this was insufficient to “apprise [] the

defendant[s] of what [charges they] must be prepared to meet.” Id.

      Count two of the indictment against Mr. Hughes suffers from the same

problem present in Russell and McGarrity. Merely repeating the language of the

criminal statute allegedly violated, like McGarrity, fails to specify what official

proceeding before Congress was allegedly obstructed. Such information is

necessary here because, like Russell, “the very core of the criminality” that the

statute proscribes depends on “a specific identification of fact” namely, what

“proceeding” Mr. Hughes allegedly obstructed or attempted to obstruct. Russell,




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369 U.S. at 764. Without identifying the official proceeding that was allegedly

obstructed, no criminal charge, in violation of §1512(c) can be sustained.

      Even if the indictment had specified that the proceeding before Congress

allegedly obstructed was the certification of the electoral college vote for the 2020

Presidential Election, the indictment still fails to state an offense because

§1512(c)(2) does not proscribe the obstruction of any and every proceeding held

by Congress. Rather, it only applies to an “official proceeding” related to the

administration of justice—as opposed to a general governmental function. It is

necessary, therefore, for the indictment to set out the specific “official proceeding”

that Mr. Hughes allegedly obstructed that is related to the administration of justice.

   A. Congressional Certification of the Electoral College Vote
      Is Not an “Official Proceeding” Within the Scope of § 1512(c)

   To determine legislative intent, courts “always begin with the text of the

statute.” United States v. Barnes, 295 F.3d 1354, 1359 (D.C. Cir 2002).

      It is elementary that the meaning of a statute must, in the first
      instance, be sought in the language in which the act is framed, and if
      that is plain…the sole function of the courts is to enforce it according
      to its terms.”

United States v, Hite, 769 F.3d 1154, 1150 (D.C. Cir. 2014)(quoting

Caminetti v. United States, 242 U.S. 470, 485 (1917)(internal quotes

omitted). A search for the meaning of the statute also includes “an

examination of the statute’s context and history.” U.S. v. Hite, 769 F.3d at


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1160. Importantly, “due process bars courts from applying a novel

construction of a criminal statute to conduct that neither the statute nor any

prior judicial decision has fairly disclosed to be within its scope.” United

States v. Lanier, 520 U.S. 259, 268 (1997).

        With respect to §1512, the Supreme Court has instructed lower courts

to “exercise[] restraint in assessing the reach of [the]…statute both out of

deference to …Congress… and out of concern that a fair warning should be

given to the world in language that the common world will understand, of

what the law intends to do if a certain line is passed[.]” United States v.

Arthur Anderson, LLP, 544 U.S. 696, 703 (2005). A review of the text,

history and judicial interpretation of §1512, demonstrates that this statute,

which punishes obstruction of “official proceedings” does not apply to the

Electoral College certification.

                 1. The Text of the Statute Suggests that An
        “Official Proceeding” is Judicial or Quasi-Judicial in Nature

        Section 1512(c)(2) prohibits “corruptly…obstructing, influencing, or

impeding any official proceeding, or attempting to do so.” (emphasis added). The

definition of the term “official proceeding” in 18 U.S.C. §1515(a)(1) includes “a

proceeding before the Congress” as well as proceedings before a court or grand

jury.



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      While the term “proceeding” – as used in the lay sense and read in isolation

– could possibly be read to include any official business done in Congress, its

contextual placement suggests that Congress intended to use a “legal” definition of

“proceeding” such as 1) “The regular and orderly progression of a lawsuit,

including all acts and events between the time of commencement and the entry of

judgment,” 2) “Any procedural means for seeking redress from a tribunal or

agency,” or 3) The business conducted by a court or other official body; a

hearing.” Black’s Law Dictionary, 1241 (8th Ed. 2004).

      The surrounding statutory provisions in Chapter 73 support this

interpretation. See, NASDAQ Stock Mkt, LLC v. SEC, 961 F.3d 421,426 (D.C. Cir.

2020)(quoting Util. Air Regulatory Grp. V. EPA, 573 U.S. 302, 321 (2014)(“A

statutory provision that may seem ambiguous in isolation is often clarified by the

remainder of the statutory scheme because only one of the permissible meanings

produces a substantive effect that is compatible with the rest of the law.”) Each

one of the statutes contained therein proscribe obstructive conduct for very specific

subjects and settings related to the administration of justice. For instance, §1510

deals with obstruction of criminal investigations, §1516 through §1518

criminalizes obstruction of specific types of other investigations, §1503 and §1504

prohibits influencing or injuring a juror, §1513 prohibits retaliating against a

witness, victim or informant, §1521 prohibits retaliating against a federal judge or


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law enforcement officer by false claim or slander of title. There is even a statute to

prohibit “picketing or parading” near the residence of a judge, juror, witness, or

court officer “with the intent of interfering with, obstruction, or impeding the

administration of justice.” 18 USC §1507 (emphasis added). All these laws are

related to the obstruction and serve to protect participants in the administration of

justice. It follows, therefore, that in order to violate §1512(c)(2) there must be

some allegation that the “official proceeding” obstructed related to the

administration of justice.

                   2. The Legislative History Establishes That
          “Official Proceeding” is Judicial or Quasi-Judicial in Nature

      The legislative history of §1512 confirms that it was enacted by Congress to

punish obstructive acts designed to illegitimately affect the presentation of

evidence in judicial or quasi-judicial hearings before courts, agencies, and

Congress. Section 1512 was passed in 1982 as part of the Sarbanes-Oxley Act but

its origins go back to 1979 when Congress attempted to streamline, simplify and

reorganize the federal criminal code.

      In 1979 Senator Ted Kennedy and Senator Strom Thurmond co-sponsored

the Criminal Code Reform Act of 1979, or Senate Bill 1722 (“S. 1722”). Styled as

a bill “[t]o codify, revise, and reform title 18 of the United States Code,” id., S.

1722 is Congress’s first attempt to pass what would later become 18 U.S.C. §1512.



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S. 1722 included a proposed new obstruction of justice statute, § 1323 (1979

legislation) which provided:


      1323 Tampering With a Witness, Victim, or an Informant
      (a) OFFENSE.—A person is guilty of an offense if he—
         (1) Uses force, threat, intimidation, or deception with intent to—
             (A) Influence the testimony of another person in an official
                 proceeding; or
             (B) Cause or induce another person to—
                 (i)     Withhold testimony, or withhold a record, document
                        or other object from an official proceeding;
                 (ii) Engage in conduct constituting an offense under
                        section 1325 (Tampering With Physical Evidence);
                 (iii) Evade legal process summoning him to appear as a
                        witness, or to
                 (iv) Absent himself from an official proceeding to which
                        he has been summoned by legal process; or
             (C) Hinder, delay, or prevent the communication to a law
                 enforcement officer of information relating to an offense or
                 a possible offense;
         (2) With intent to annoy, harm, or injure another person, hinders,
             delays, prevents, or dissuades—
             (A) a witness or a victim from attending or testifying in an
                 official proceeding; or
             (B) a witness, victim, or a person acting on behalf of a
                 victim, from-
                 (i)    Making a report of an offense or a possible offense to
                        a judge, a law enforcement officer, a probation
                        officer, or an officer of a correctional facility;
                 (ii) Causing a criminal prosecution, or a parole or
                        probation revocation proceeding, to be soudht or
                        instituted or assisting in such prosecution or
                        proceeding; or
                 (iii) Arresting, or causing or seeking the arrest of, a person
                        in connection with an offense; or
         (3) Does any act with intent to influence improperly, or to obstruct
             or impair, the—
             (A) administration of justice
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             (B) administration of a law under which an official
                proceeding is being or may be conducted; or
             (C) exercise of a legislative power of inquiry.

Criminal Code Reform Act of 1979 (S.B. 1722, 96th Cong. §1323 (1979). It is

clear that this 1979 legislation served as a model for what would later become 18

USC §1512 beginning with the identical titles “Tampering with a Witness, Victim,

or an Informant.” Additionally, the 1979 legislation, like §1512 makes multiple

references to the term “official proceeding” and eliminated the “pending

proceeding” requirement.2

      Further §1512(b)(1)-(3) and (d)(1)-(4), which passed as part of the original

§1512 in 1982, were respectively drawn from the 1979 bill’s subsections (a)(1)(A)-

(C) and (a)(2)(A)-(B). Section 1512(c)(1)’s text, the subject of the Arthur

Anderson case, was copied from a proposed 1979 evidence tampering statute

(§1325), which is cross referenced in the 1979 legislation’s subsection

(a)(1)(B)(ii). Section 1512(c)(2), which was added to §1512 as part of Sarbanes-

Oxley in 2002, bears a striking resemblance to the 1979 legislation’s “residual

clause” found in subsection (a)(3). In short, the statutory model for §1512 traces

back to Congress’s 1979 failed attempt to pass a new obstruction of justice statute.



2
 Criminal Code Reform Act of 1979, S.B. 1722, 96th Cong. §1323(d)(1) (1970)(“It
is not a defense to a prosecution …that…an official proceeding was not pending or
about to be instituted[.]”).

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      Unlike §1512 and §1515, the 1979 legislation included a detailed definition

as to what Congress meant when it used the term “official proceeding” in relation

to obstruction of justice. Section 111 of the proposed 1979 legislation defined for

purposes of §1323 the term “official proceeding” as follows:

      ‘official proceeding’ means a proceeding convened pursuant to lawful
      authority, or a portion of such a proceeding, that is or may be heard
      before (a) a government branch or agency, or (b) a public servant who
      is authorized to take oaths, including a judge, a chairman or a Member
      of Congress authorized by a legislative committee or subcommittee, a
      bankruptcy judge, an administrative law judge, a hearing examiner,
      and a notary[.]

Criminal Code Reform Act of 1979, S.B. 1722, 96th Cong. 111(1979).

      As used in the 1979 legislation “official proceeding” applied to

administrative, judicial and congressional hearings. Instead of routine business, an

“official proceeding” was a “proceeding” that was “convened.” When used in a

legal context and as a transitive verb “to convene” means “to summon before a

tribunal,” “to order to appear before a court of law, judge, tribunal, etc,” or to

“summon before a court of law.” Specifically with respect to Congress, subsection

(b) of the 1979 legislation referred to “a chairman” or “Member of Congress” who

is “authorized to take oaths” at “legislative committee or subcommittee.” In short,

the definition of “official proceeding” as used in the model for what would three

years later become §1512 and §1515(a)(1)(B) suggests that Congress intended the

term “official proceeding” as used in §1515(a)(1)(B) to be limited to congressional


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inquiry hearings. Clearly, Congress intended that the “proceedings” protected by

§1512, including “proceedings before the Congress,” are adjudicatory or

inquisitive in nature, requiring investigations, due process, sworn testimony, and

document production.3

             3. Case law supports that the term “Official Proceeding”
             Is Judicial or Quasi-Judicial in Nature

      Ermoian v. United States is one of the first appellate decisions to consider

the meaning of “official proceeding” as that term is used in 1512(c) and defined in

Section 1515. See, Ermoian, 752 F.3d 1165, 1168 (9th Cir. 2013). (“Our circuit

has never before addressed the meaning of the term ‘official proceeding’ as used in

the obstruction of justice statute at 18 U.S.C. § 1512.”) Although that case

considered whether a criminal investigation by the FBI was considered an official

proceeding for purposes of the statute, the court noted, “[a]s used in the statute, the

definition of the phrase ‘official proceeding’ depends heavily on the meaning of

the word proceeding.” Id. at 1169.

      The court stated the “[s]everal aspects of the definition for ‘official

proceeding’ suggest that the legal—rather than the lay—understanding of the term


3
  Further proof that §1512 is aimed at protecting the fact-finding process inherent
in judicial and quasi-judicial proceedings is that it was passed as part of the Victim
and Witness Protection Act of 1982 (“VWPA”), which was enacted by Congress
for the purpose of “[e]nhanc[ing] and protect[ing] the necessary role of crime
victims and witnesses in the criminal justice process.” VWPA, Pub.L.No. 97-
291§2, 96 Stat. 1248 (1982).
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‘proceeding’ is implicated in the statute.” Id. “Moreover, when used to define

‘official proceeding’ “the court pointed to the fact that “the word ‘proceeding’ is

surrounded with other words that contemplate a legal usage of the term, including

‘judge or court,’ ‘Federal grand jury,’ ‘Congress’ and ‘Federal Government

agency.’” Id.

      The Court considered the broader statutory context, looking at §1515 as a

whole, noting that “[t]he use of the preposition ‘before’ suggests an appearance in

front of the agency sitting as a tribunal.” Id. at 1171. The court looking to another

circuit court’s interpretation of the phrase “official proceeding” noted that “[a]s the

Fifth Circuit explained when addressing this same definition, ‘use [of] the

preposition ‘before’ in connection with the term Federal Government agency’

…implies that an ‘official proceeding’ involves some formal convocation of the

agency in which parties are directed to appear.” Id. In conclusion, the court

considered “the plain meaning of the term ‘proceeding,’ its use in the grammatical

context of the ‘official proceeding’ definition, and the broader statutory context” to

hold that a criminal investigation is not an “official proceeding” under §1512(c).

      The interpretation, reasoning and logic applies by the court there equally

applies here. Looking at §1512 as a whole, it is obvious that the statute solely

prohibits conduct that affects the administration of justice. The statute repeatedly

references “proceedings” in the context of investigations and legal proceedings


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related to a criminal investigation. Id. Even the title of the offense relates to

“Tampering with a witness, victim, or an informant.” Id.

      This interpretation is consistent with the case law that has clarified the

meaning of the statutory language at issue here. See, United States v. Burge, 711

F.3d 803, 809 (7th Cir. 2013)(considering application of §1512 and noting

“[o]bstruction of justice occurs when a defendant acts to impede the types of

proceedings that take place before judges or grand juries.”) 4

      There is little doubt based on the language of the statute, its legislative

history and case law that the official “proceeding before Congress” that Mr.

Hughes is accused of obstructing must relate to the administration of justice.

Because the certification of the electoral college vote does not relate to the




4
 This interpretation is even consistent with the Department of Justice’s own view
as reflected in its Criminal Resources Manual discussing the application of §1512:

      Section 1512 of Title 18 constitutes a broad prohibition against
      tampering with a witness, victim or informant. It proscribes conduct
      intended to illegitimately affect the presentation of evidence in
      Federal proceeding or the communication of information to Federal
      law enforcement officers.

Criminal Resource Manual, CRM 1729, Department of Justice (available at
https://www.justice.gov/archives.jm/criminal-resource-manual-1729-protection-
government-processes-tampering-victims-witnesses-or)(emphasis added).


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administration of justice it is not an “official proceeding” before Congress within

the meaning of §1512(c)(2) and §1515 and Count Two must be dismissed.


                                  CONCLUSION

   This is undoubtedly a case of the Government overcharging a person for

conduct that is more specifically proscribed elsewhere. Mr. Hughes is charged in

Count Three with destruction of government property in violation of 18 U.S.C.

§1361; Count Four with violating §1752(a)(1) which prohibits entering and

remaining in a restricted building or grounds; Count Five for violating Section

§1752(a)(2) which prohibits a person from “knowingly and with intent to impede

or disrupt the orderly conduct of Government business or official functions,

engages in disorderly or disruptive conduct in, or within such proximity to, an

restricted building or grounds when, or so that such conduct, in fact, impedes or

disrupts the orderly conduct of Government business or official functions.”

Additionally, Mr. Hughes is charged with violating various section of Title 40

U.S.C. §5104(e)(2) for entering and remaining on the floor of Congress; entering

and remaining in certain rooms in the Capitol Building; violent entry and

disorderly conduct on Capitol Grounds or within the Capitol Building and

parading, demonstrating or picketing in a Capitol Building. These statutes

adequately prohibit the conduct that Mr. Hughes is accused of engaging in.



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                                           Respectfully submitted,



                                           _/s/_____________________
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                        CERTIFICATE OF SERVICE

   I certify that on this 30th day of August, 2021, I caused the foregoing to be
electronically filed with the court using the CM/ECF system that will
electronically serve the following registered user:

   Hava Mirell
   Assistant United States Attorney
   555 Fourth Street, N.W.
   Washington, DC 20530
   Hava.mirell@usdoj.gov

                                           _/s/______________________
                                           Jonathan Zucker




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